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PENALTY SUMMARY

DEFENDANT NAME: MARCO CASTRO-CRUZ,
a/k/a Juan Ramirez-Perez,
a/k/a Guero

THE GOVERNMENT, PURSUANT TO RULE 18, F.R.Cr.P., WITH DUE REGARD FOR THE
CONVENIENCE OF THE DEFENDANT, ANY VICTIM AND WITNESSES, AND THE
PROMPT ADMINISTRATION OF JUSTICE, REQUESTS TRIAL BE HELD IN:

_X_Cheyenne__—s Casper ____ Lander ___. No Preference
VICTIM: _xX Yes __No
SEAL CASE: _X Yes ___No
PENALTIES AND OFFENSES:
OFFENSE: Ct.1: 21 U.S.C. §§ 846 and 841(a)(1) and (b)(1)(C)

(Conspiracy to Distribute Heroin Resulting in Death)

PENALTIES: 20 YEARS TO LIFE IMPRISONMENT
$1,000,000 FINE
3 YEARS SUPERVISED RELEASE
$100 SPECIAL ASSESSMENT

OFFENSE: Ct.2: 21 U.S.C. § 841(a)(1) and (b)(1)(C) and 18 U.S.C. § 2
(Aiding and Abetting the Distribution of Heroin Resulting in
Death)

20 YEARS TO LIFE IMPRISONMENT
$1,000,000 FINE

3 YEARS SUPERVISED RELEASE
$100 SPECLAL ASSESSMENT

TOTAL PENALTIES: 40 YEARS TO LIFE IMPRISONMENT
$2,000,000 FINE
3 YEARS SUPERVISED RELEASE
$300 SPECIAL ASSESSMENT

AGENT: Special Agent Kevin M. Curry, DEA
Special Agent Troy Bartel, Wyoming DCI

SPECIAL AUSA: Guy Till
District of Colorado _— Bradley W. Giles

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ESTIMATED TIME OF TRIAL: INTERPRETER NEEDED:
five days or less X_ Yes
X__ over five days No
THE GOVERNMENT: X_ The court should not grant bond
_X_ will because the defendant is not bondable
will not because there are detainers from other

jurisdictions
SEEK DETENTION IN THIS CASE.

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